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 3
                              UNITED STATES DISTRICT COURT
 4
                                    DISTRICT OF NEVADA
 5
                                              ***
 6                                            )
     UNITED STATES OF AMERICA,                )
 7                                            )
                     Plaintiff,               )             2:09-CR-00185-PMP-LRL
 8                                            )
     v.                                       )
 9                                            )
     CARL VON BRADLEY,                        )
10                                            )             ORDER
                     Defendant.               )
11                                            )
12            IT IS ORDERED that Defendant’s Motion to Unseal Defendant’s Motion for
13   Reconsideration and Defendant’s Motion for Relief Under 18 U.S.C. § 2255 (Doc.
14   #329/#330) is hereby GRANTED.
15

16   DATED: October 28, 2013
17                                             _______________________________
                                               PHILIP M. PRO
18                                             United States District Judge
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